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SOUTHERN DISTRICT OF NEW YORK
x

 

United States of America,
ORDER
18-CR-420 (ALC)
-against-
Clarence Grandy,
xX

 

ANDREW L. CARTER, JR., United States District Judge
The Sentencing scheduled for October 23, 2020 is adjourned to January 14, 2021 at

3:00 p.m.
SO ORDERED.

Dated: New York, New York
_— (Ards / Cuny

ANDREW L. CARTER, JR.
UNITED STATES DISTRICT JUDGE

 
